            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                      Plaintiff,        )
                                        )
     vs.                                )     No. 12-03066-01-CR-S-RTD
                                        )
JARRED RICHARD BISHOP,                  )
                                        )
                      Defendant.        )


                      REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count One and admitted to Forfeiture

Allegation contained in the Third Superseding Indictment filed on

June 12, 2013.   After cautioning and examining the Defendant under

oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty pleas were knowledgeable and voluntary,

and that the offenses charged are supported by a factual basis for

each of the essential elements of the offenses.                 I therefore

recommend that the pleas of guilty be accepted and that the Defendant

be adjudged guilty and have sentence imposed accordingly.



Date: February 4, 2014                   /s/ James C. England
                                        JAMES C. ENGLAND
                                        UNITED STATES MAGISTRATE JUDGE




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                                 NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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